Case 1:21-cv-00357-SPB-RAL Document 8 Filed 02/08/22 Kap feefrep

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IN THE UNITED STATES DISTRICT COURT —
FOR THE WESTERN DISTRICT OF PENN SYLVANIA

Joseph Shegog
Plaintiff

v. Civil Action No.; 1:24 -Cv~ 3S 4
Officer Grinell, Jennifer Mooney, (Jury Trial Demanded)

Jennifer Deplatchett, Ms. Shrader, F ] L E D

and Ms. Giles. All sued in their
Individual and Official Capacities. DEC 23 271

Defendants. CLERK U.S. DISTRICT COURT
WEST. DIST. OF PENNSYLVANIA
Introduction

This is a 42 U.S.C. § 1983 Civil Action filed by Plaintiff, Joseph Shegog,, for violations of his
“First and Eighth Amendment” rights.

Jurisdiction

The Western District of Pennsylvania is an appropriate district because it is where the events

giving rise to this action occurred. QS USC. § 13) Cb).

Parties
1. Plaintiff, Joseph Shegog, is and was, at all times mentioned herein an inmate at SCI-Albion

(10745 Route 18, Albion, Pa. 16475).

2. Defendant, Officer Grinell, is and was, at all times mentioned herein a Correctional Officer at
SCI-Albion. His duties include, the security of SCI-Albion (10745 Route 18, Albion, Pa. 16475).

3. Defendant, Jennifer Mooney, is and was, at all times mentioned herein a Supervisor at SCI-
Albion. Her duties include the supervision of SCI-Albion’s Correctional Industries (10745 Route
18, Albion, Pa. 16475). ‘

4, Defendant, Jennifer Deplatchett, is and was, at all times mentioned herein a Unit Manager at
SCI-Albion. Her duties include, the supervision of Housing Units(10745 Route 18, Albion, Pa.
16475).
Case 1:21-cv-00357-SPB-RAL Document 8 Filed 02/08/22 Page 2 of 7

5. Defendant, Ms. Shrader, is and was, at all times mentioned herein a counselor at SCI-Albion.
Her duties include the supervision of SCI-Albion. Her duties include counseling SCI-Albion
inmates(10745 Route 18, Albion, PA 16475).

6. Defendant, Ms, Giles is and was, at all times mentioned herein the Employment Manager at -
SCI-Albion. Her duties include providing employment to SCI-Albion inmates(10745 Route 18,
Albion, PA 16475).

Facts

7, On January 31, 2020, Plaintiff was called into his supervisor Mr. Martin’s Office for his 60
day review. At that time, Defendant Mooney went over the review.

8. Defendant Mooney had documented two “Below-Average” ratings on the plaintiff's report.
Plaintiff read the definition of “Below-Average” which states: “The inmate does not demonstrate
a sincere interest in developing positive work habits. The inmate usually reports to work but.
shows little desire to perform or learn work without repeated orders. The inmate may
occasionally be disruptive in the work setting and/or demonstrate increasing absenteeism.”

9, Defendant Mooney then stated to the plaintiff that she felt he was wrong for disagreeing with
her “Last” report and voicing that displeasure with her co-workers.

10. Plaintiff, although he was not wrong for disagreeing, explained to defendant Mooney that it
. was over two months ago.

11. Defendant Mooney went on to state that because the plaintiff spoke to her peers he was
receiving the “Below-Average.”

12. Plaintiff then informed defendant Mooney that there was nothing within the policy that
governs correctional industry which states an inmate shall be punished for speaking about
something he believes to be unfair.

13. Defendant Mooney then told the plaintiff that if he did not sign the report he would not
receive a pay raise. Plaintiff filed an inmate grievance(see Exhibit A).

14. On March 23, 2020 Plaintiff, along with other inmates, were called by. Mr.Martin was
stating that all inmates had to wear mask. Plaintiff informed Mr. Martin that inmates were told it
was optional. At that time, Defendant Grinell responded aggressively stating: (Who gives afuck!

1?

Why the fuck you have to question anything!
15. Plaintiff calmly responded: “I only asked a question. You don’t have to curse at me.”

16. Defendant Grinell then approached the plaintiff, with clinched fists, and stated: “ Then shut
the fuck up! And J don’t care if you write another grievance.”

17. Plaintiff then asked defendant Grinell “ What does a grievance have to do with anything?”
Case 1:21-cv-00357-SPB-RAL Document 8 Filed 02/08/22 Page 3 of 7

18. Defendant Grinell then stated: “ You want to write grievances against “Jennifer”(Defendant
Mooney)? You know what, get the fuck out!” Plaintiff Left, and filed an inmate grievance (see
Exhibit B).

19. On April 1, 2020, Plaintiff wrote to Superintendent Clark notifying him of defendant
Grinell’s actions, and the fact that the following day he was sent back again. Punishment for
filing a grievance against defendant Mooney (see Exhibit C).

20. On April 28, 2020, Plaintiff wrote to defendant Deplatchett and was told he was suspended
(see Exhibit D).

21. Plaintiff also wrote to defendant Shrader and was told he was being removed from his job
(see Exhibit E).

22. On June 1, 2020, Plaintiff wrote to defendant Giles. Plaintiff received a response stating a
staffing was scheduled (see Exhibit F).

23. Plaintiff then received a response from defendant Deplatchett stating that he was informed of
his job removal by defendant Shrader during a “conversation” at the officer’s desk (see Exhibit
G).

24. On June 3, 2020, Plaintiff filed an inmate grievance (see Exhibit H).

Previous Lawsuits by Plaintiff

25, Plaintiff has filed no previous lawsuits concerning these issues or any other issues. !
Exhaustion of Administrative Remedies
26. Plaintiff attempted to solve this matter through the inmate grievance system (see Exhibit A,
B, and H).

Legal Claims

27. Plaintiff re-alleges and incorporates by reference paragraphs | thru 26.

First and Eighth Amendment Violations

28. On January 31, 2020, Plaintiff“ Disagreed” with defendant Mooney’s report and was
retaliated against when defendant Mooney gave him a “Below-Average” rating for speaking with
her co-workers. Defendant Mooney then became more adverse by denying Plaintiff a pay-raise
for a non-work related issue. Plaintiff supervisor, later, gave him a raise.

29. Defendant Mconey’s actions and statements are inconsistent with her reports,

(A) On September 26, 2019, Plaintiff received ‘six’ “Above Averages” on his progress report
(see Exhibit I”.
Case 1:21-cv-00357-SPB-RAL Document 8 Filed 02/08/22 Page 4 of 7

(B) On November 18, 2019, Plaintiff received ‘seven’ “Above Averages” on his progress report
(see Exhibit J).

(C) On January 28, 2020, Plaintiff received ‘Twelve’ “Above Averages” on his progress report
(see Exhibit K).

30. As previously stated, Plaintiff was fired, and threatened by defendant Grinell for filing an
inmate grievance against defendant Mooney.

31. When Plaintiff was finally called to his staffing he was told by defendant Giles that he was a
constant problem, and that this was her “Third” time staffing him out of a job. Defendant Giles
was incorrect, this was the Plaintiff's first time being staffed out.

32. During the staffing defendant Deplatchett told the Plaintiff that he was being staffed out due
to a misconduct report. Defendant Deplatchett was incorrect, I did not receive a misconduct

report at the C.I Shop.

33. Defendant Shrader also attended the Plaintiff's staffing and stated that she was voting against
the Plaintiff due to his actions on the housing unit. This had nothing to do with the Plaintiff's job,
and the Plaintiff had done nothing wrong on the housing unit.

34, Defendant Giles, Deplatchett, and Shrader, none of whom were present at the Plaintiff's
work place, all fabricated these incidents, then removed the Plaintiffs job.

35. All defendants acted under color of state law.

Prayer For Relief

Award Compensatory Damages In The Following Amounts
(A) $50,000.00, each, against Defendants Grinell and Mooney.

(B) $ 25,000.00, each, against Defendants Deplatchett, Gtles, and Shrader.
(C) Pay the Plaintiff $ 5,000.00 in lost wages.

Award Punitive Damages In The following Amounts

(D) $ 50,000.00, each, against Defendants Grinell and Mooney.

(E) $ 25,000.00, each, against Defendants Deplatchett, Giles, and Shrader.

WHEREFORE, Plaintiff prays upon this Honorable Court to grant damages against all
Defendants in the best interest of justice.
Case 1:21-cv-00357-SPB-RAL Document 8 Filed 02/08/22 Page 5 of 7

Date: \a ~Q0- a\

TA, bmitted,

Joseph Ul oon # GM 1483
SCI ALBION

10745 Route 18

Albion, PA, 16475
Case 1:21-cv-00357-SPB-RAL Document 8 Filed 02/08/22 Page 6 of 7

Verification

I, hereby verify that the foregoing is true and correct.

Executed this \ ec day of a () _, 2021.

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Joseph shelbe #GM 1483
Case 1:21-cv-00357-SPB-RAL Document 8 Filed 02/08/22 Page 7 of 7

Certificate of Service

I, hereby certify that a true and correct copy of this Complaint has been mailed to the following
via first class mail:

Clerk of Courts
United States District Court
Western District of Pennsylvania
17 South Park Row
Erie, Pa. 16501

Date: 1--~dO~d)\ “Ts

Joseph silleog #0 #GM 1483

